Case: 2:20-cv-04813-ALM-KAJ Doc #: 120-2 Filed: 07/20/21 Page: 1 of 7 PAGEID #: 1966




                       IN THE UNITED STATES DISTRICT COURT FOR
                            THE SOUTHERN DISTRICT OF OHIO


 ––––––––––––––––––––––––––––––––––––––––––––
                                                              )      CASE NO . 2:20-cv-04813
 EM PLO Y EES R ET. SY STEM O FTH E CITY                      )
 O FST. LO UIS, et. al.,                                      )      Ch ie fJudge Alge nonL.
                                                              )      M arbley
        Plaintiffs,                                           )
                                                              )      M agistrate Judge K imbe rly
 v.                                                           )      A. Jolson
                                                              )
 CH AR LES E. JO NES, et. al.,                                )
                                                              )
        Defendants,                                           )
                                                              )
      and                                                     )
                                                              )
 FIR STENER GY CO R P.,                                       )
                                                              )
        Nominal Defendant.                                    )
                                                              )
                                                              )
 ––––––––––––––––––––––––––––––––––––––––––––


             DECLARATION OF MARY M. SWANN PURSUANT TO 28 U.S.C. § 1746
                     IN SUPPORT OF THE MOTION TO STAY OF THE
                   SPECIAL LITIGATION COMMITTEE OF THE BOARD
             OF DIRECTORS OF NOMINAL DEFENDANT FIRSTENERGY CORP.


            I, M aryM . Swannde clare unde rpe naltyofpe rjuryunde rthe lawsofthe United Statesof

 Ame rica thatthe following istrue and correct:

            1.     I am ove rthe age ofe igh tee nye arsold and am compe tenttotestifyastothe

 matterscontaine d h e rein.

            2.     I am the Corporate Se cretaryforFirstEne rgyCorp. (“FirstEne rgy”), the nominal

 de fe ndantinthe withinaction. Inthatcapacity, I am responsible formaintaining recordsfrom

 the me e tingsofthe Board ofD irectors(“Board”), including resolutionsthath ave be e napprove d
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 bythe Board and am familiarwith FirstEne rgy’srecord-k e e ping systemsrelating tothe

 informationinthe D e claration. Th e attach e d recordsare maintaine d byFirstEne rgyinthe

 normalcourse ofitsregularly-conducted busine ssactivitie sand are made atorne arthe time of

 the e ve nt,byorfrom informationtransmitted bya pe rsonwith k nowledge ofthe e ve nts. Itis

 FirstEne rgy’spractice tok e e psuch recordsinthe ordinarycourse ofitsregularlyconducted

 busine ssactivity.

         3.      I h ave pe rsonalk nowledge ofthe matterscontaine d inthisD e clarationand h ave

 revie we d the busine ssrecordsofFirstEne rgypriortoproviding the informationcontaine d h e rein.

         4.      Exhibit A tothisD e clarationisa true and accurate copythe Board’sR e solution

 creating the Spe cialLitigationCommittee and e mpowe ring ittotak e allactionsitde e msinthe

 be stinterestsofthe Companyand itssh areh olde rsinconne ctionwith, among othe rthings, the

 prese ntlitigation.

         5.      Th e Board’sR e solutionise xce rpted from the draftminutesofthe June 29 , 2021

 Board ofD irectorsM e e ting (“M inutes”).

         6.      Th e M inuteswillbe approve d atthe ne xtBoard me e ting, butthe resolution

 e stablish ing the Spe cialLitigationCommittee wasapprove d inthisform and isme morialize d

 the rein.

         I de clare unde rpe naltyofpe rjuryunde rthe lawsofthe United StatesofAme rica thatthe

 foregoing istrue and correct. Exe cuted onJuly16, 2021 inSh aronCe nter, O h io.



                                                              /s/_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
                                                              M aryM . Swann
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                          Exhibit A
Case: 2:20-cv-04813-ALM-KAJ Doc #: 120-2 Filed: 07/20/21 Page: 4 of 7 PAGEID #: 1969

                                                                                   Minutes Excerpt
                                                                                    June 29, 2021

 Formation of Special Litigation Committee

       W H ER EAS, onSe ptembe r8, 2020, the Board forme d a board committee compose d solely
   ofinde pe nde ntdirectors(the “Inde pe nde ntR e vie w Committee ”)toconducta furthe rrevie w
   of, and tak e furthe raction, asappropriate, with respe ctto: anymattersrelating toa criminal
   complaintfiled inthe United StatesD istrictCourtforthe Southe rnD istrictofO h ioina matter
   captione d United States vs. Larry Householder, et al., Case No. 1:20-M J-000525 (the
   “CriminalAction”);anyrelated criminaland civilactions;and related internaland e xternal
   inve stigations, including with respe cttothe Company’srelationsh ipwith politicalaction
   committee sand socialwe lfare organizationsand practice sand proce duresrelated the reto;
        W H ER EAS, onD e ce mbe r15, 2020, the Board forme d a board committee compose d
   solelyofinde pe nde ntdirectors(the “D e mand R e vie w Committee ”)toconside rce rtain
   sh areh olde rde mandsrelating tomattersarising from orrelating tothe CriminalAction, as
   we llasanyadditionalsh areh olde rde mandsuponthe Companywith respe cttothe same or
   related matters(collective ly, the “D e mands”), and toadvise and mak e such recomme ndations
   tothe Board regarding such mattersasthe D e mand R e vie w Committee mayde e m advisable,
   appropriate, and inthe be stinterestsofthe Company;
       W H ER EAS, be ginning inlate July2020, se ve ralsh areh olde rde rivative actionswe re filed
   inSummitCountyCourtofCommonPleas, consolidated and captione d Gendrich v.
   Anderson, et al., No. CV-2020-07-2107, inthe United StatesD istrictCourtforthe Northe rn
   D istrictofO h io, captione d Miller v. Anderson, et al., Case No. 5:20-cv-01743, and inthe
   United StatesD istrictCourtforthe Southe rnD istrictofO h io, consolidated and captione d
   Employees’ Retirement System of the City of St. Louis v. Jones, et al., Case No. 2:20-cv-04813
   (individually, an“Action”, ortoge the r, with anyrelated sh areh olde rde rivative actionsthat
   maybe filed h e reafter, the “Actions”);
      W H ER EAS, the plaintiffsinthe Actionspurported tosue onbe h alfofthe Companyand
   name d asde fe ndantsce rtaincurrentand forme rme mbe rsofthe Board and ce rtaincurrentand
   forme roffice rsand e mploye e softhe Company;
       W H ER EAS, the Companyand the individualde fe ndantsfiled motionstodismissthe
   complaintsine ach ofthe Actions, including onthe basisthatthe plaintiffsine ach Action
   failed tomak e a pre-suitde mand onthe Board and thatfailure wasnote xcuse d asfutile;
       W H ER EAS, onM ay11, 2021, the courtinthe St. Louis Actionde nie d the motionto
   dismissthe complaintfil    e d bythe Companyand the individualde fe ndants, finding (inter alia)
   with respe cttothe St. Louis Actionthatde mand wase xcuse d asfutile astoallthe current
   me mbe rsofthe Board name d asde fe ndantsinthatmatterand thatthe St. Louis Actionwould
   proce e d (the “St. Louis O rde r”);
       W H ER EAS, the Board h asde termine d, inligh tofthe St. Louis O rde r, thatitisadvisable,
   appropriate, and inthe be stinterestsofthe Companyand itssh areh olde rsthatthe Board
   create a litigationcommittee to, acting onbe h alfofthe Company, inve stigate, revie w, and
   analyze the factsand circumstance ssurrounding the claimsmade inthe Actionsand the
   D e mands;and
      W H ER EAS, inligh tof(a)the significantrevie w, inve stigation, and related actions
   unde rtak e nbythe Inde pe nde ntR e vie w Committee , (b)the formationofthe Compliance
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                                                                                   Minutes Excerpt
                                                                                    June 29, 2021

   O ve rsigh tSub-Committee forme d bythe AuditCommittee atthe directionofthe Board for
   purpose sofcontinue d ove rsigh tand directionregarding the Company’scompliance program,
   (c)the Board’sde terminationtoform a litigationcommittee , e ach ofthe Inde pe nde ntR e vie w
   Committee and the D e mand R e vie w Committee h asrecomme nde d itsdissolutiontothe Board
   and the Board h asde termine d thatitisadvisable, appropriate, and inthe be stinterestsofthe
   Companyand itssh areh olde rsthatthe Board dissolve the Inde pe nde ntR e vie w Committee
   and the D e mand R e vie w Committee , e ffe ctive asofthe date ofthe se resolutions;
        NO W TH ER EFO R E BE IT R ESO LVED TH AT, e ffe ctive July1, 2021, the Board h e reby
   createsand appointsa litigationcommittee pursuanttoSe ction1701.63(A)ofthe O h io
   R e vise d Code and the Company’sAme nde d and R e stated Code ofR e gulations(the
   “R e gulations”)(the “Spe cialLitigationCommittee ”);
       FUR TH ER R ESO LVED TH AT, the Spe cialLitigationCommittee isauthorize d and
   e mpowe red toinve stigate allmattersrelated tothe Actionsand the D e mands, torevie w and
   e valuate the findingsofsuch inve stigations, and toanalyze the factsand circumstance s
   surrounding the claimsmade inthe Actionsand the D e mands;
       FUR TH ER R ESO LVED TH AT, the Spe cialLitigationCommittee sh alltak e allactionsas
   the Spe cialLitigationCommittee de e msadvisable, appropriate, and inthe be stinterestsofthe
   Companyand itssh areh olde rswith respe cttothe Actionsand the D e mands, including,
   withoutlimitat ion, prose cution, control,and supe rvisionofthe Actionsand the D e mandsfor
   the Company;
      FUR TH ER R ESO LVED TH AT, the de terminationsmade bythe Spe cialLitigation
   Committee with respe cttothe mattersde legated toitinthe se resolutionssh allbe final,sh all
   notbe subje cttorevie w bythe Board, and sh allinallrespe ctsbe binding uponthe Company
   and the Board;
        FUR TH ER R ESO LVED TH AT, the Spe cialLitigationCommittee sh allconsistinitiallyof
   M s. Lisa W instonH ick sand M e ssrs. PaulK aleta, Je sse A. Lynnand M e lvinW illiams, e ach
   ofwh om the Board h asde termine d, following inquiry, (a)h asnomaterialrelationsh ipwith
   the Company(othe rthanasa directorofthe Company), e ithe rdirectlyorasa partne r,
   sh areh olde r, oroffice rofanorganizationwith such a relationsh ipwith the Company, (b)h as
   the capacitytoe xe rcise inde pe nde ntjudgme ntwith respe cttothe mattersunde rthe purvie w
   ofthe Spe cialLitigationCommittee , including be cause such directorwasnota me mbe rofthe
   Board until2021, and (c)h asnope rsonal,family, orbusine ssrelationsh ipswith anype rson
   wh omaybe subje cttothe claimstobe conside red bythe Spe cialLitigationCommittee ;
        FUR TH ER R ESO LVED TH AT, the Spe cialLitigationCommittee isauthorize d toh ave
   acce sstoallinformationofthe Companythatthe Spe cialLitigationCommittee de termine sto
   be ne ce ssary, de sirable, orappropriate toassistitinitsinve stigation, and thatthe current
   directors, forme rdirectors, office rs, age nts, e mploye e s, and advisorsofthe Company, and
   e ach ofthe m, are h e rebyauthorize d and directed toassistthe Spe cialLitigationCommittee
   and itscounse l,and toprovide the m with anyrelevantinformationand docume ntsthatthe
   Spe cialLitigationCommittee , initssole discretion, mayreque stinfurthe rance ofits
   responsibilitie s;
      FUR TH ER R ESO LVED TH AT, the Spe cialLitigationCommittee ish e rebyauthorize d
   and directed toe ngage such e xpe rtsand advise rs, including inde pe nde ntlegalcounse l,asthe
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                                                                                  Minutes Excerpt
                                                                                   June 29, 2021

   Spe cialLitigationCommittee sh allde e m ne ce ssaryorappropriate toassistitinthe disch arge
   ofitsresponsibilitie s;
        FUR TH ER R ESO LVED TH AT, the Spe cialLitigationCommittee ish e rebyauthorize d
   and e mpowe red toe nterinto(ordirectthe Companytoe nterinto)such contractsproviding
   forthe retention, compe nsation, reimburse me ntofe xpe nse s, and inde mnificationofsuch legal
   counse l,e xpe rts, and age ntsasthe Spe cialLitigationCommittee mayde e m ne ce ssaryor
   appropriate;and thatthe Companyish e rebyauthorize d and directed topayallfe e s, e xpe nse s,
   and disburse me ntsofsuch legalcounse l,e xpe rts, and age ntsonprese ntationofstateme nts
   approve d bythe Spe cialLitigationCommittee ;and thatthe Companysh allpayallfe e s,
   e xpe nse s, and disburse me ntsofsuch legalcounse l,e xpe rts, and age ntsand sh allh onorall
   othe robligationsofthe Companyunde rsuch contracts;and anysuch contracte ntered intoby
   the Spe cialLitigationCommittee ish e rebyapprove d, adopted, confirme d, and ratifie d, and, to
   the e xtentne ce ssaryoradvisable, the office rsofthe Companyare h e rebyauthorize d and
   directed toe xe cute anysuch contractforand onbe h alfofthe Company, and the e xe cution
   the rebybyanysuch office rsh allconstitute approvalthe reofbythe Board and sh allreprese nt
   the Company’sack nowledgme ntand acce ptance ofthe termsthe reof;
      FUR TH ER R ESO LVED TH AT, the Spe cialLitigationCommittee ish e rebyauthorize d
   and e mpowe red tode termine itsownproce durestothe fulleste xtentpe rmitted byapplicable
   law and the R e gulations, and ine ach case subje cttothe se resolutionsand the Company’s
   Corporate Gove rnance Policie s;
        FUR TH ER R ESO LVED TH AT, the Spe cialLitigationCommittee sh allcontinue in
   e xistence untilsuch time asthe Spe cialLitigationCommittee sh allrecomme nd itsdissolution
   tothe Board;
        FUR TH ER R ESO LVED TH AT, inaccordance with Se ction1701.13 ofthe O h ioR e vise d
   Code , e ach me mbe rofthe Spe cialLitigationCommittee h e rebyisand sh allbe fully
   inde mnifie d and h e ld h armlessbythe Companyand itssucce ssorsand assignstothe fullest
   e xtentpe rmitted byanyapplicable law, the Company’sAme nde d and R e stated Articlesof
   Incorporation, and the R e gulations, itbe ing unde rstood thatthisresolutionisnotintende d to
   limitanyothe rwise e xisting righ tsto, orobligationsofthe Companyregarding, the
   inde mnificationofand payme ntofe xpe nse sfor(a)the me mbe rsofthe Spe cialLitigation
   Committee , including pursuanttoagree me ntsbe twe e nsuch me mbe rsand the Companyor
   (b)anyothe rpe rsons;
        FUR TH ER R ESO LVED TH AT the Spe cialLitigationCommittee sh all(a)consult
   promptlywith itslegalcounse l,once retaine d, and mayconsultwith anyothe radvisorsthat
   the Spe cialLitigationCommittee mayde e m ne ce ssaryorappropriate toassistitinthe
   disch arge ofitsresponsibilitie s, including astoitscompe nsation, (b)submittothe Board,
   base d oninputfrom itsadvisors, a recomme ndationforreasonable compe nsationtobe paid to
   the me mbe rsofthe Spe cialLitigationCommittee inrespe ctofthe substantialtime thatwillbe
   required ofthe m inconne ctionwith the irresponsibilitie sse tforth inthe se resolutions, wh ich
   recomme ndationsh allbe binding onthe Board, and wh ich amountssh all(i)be non-
   refundable, (ii)notbe conditione d onthe outcome ofthe Spe cialLitigationCommittee ’s
   inve stigationorothe rwise onanyactionoromissionofthe Spe cialLitigationCommittee , and
   (iii)be nolessthananycompe nsationtoothe rcommittee softhe Board ofsimilaror
   comparable dutie s, burde ns, ortime commitme nt(and wh ich may, forthe avoidance ofdoubt,
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                                                                              Minutes Excerpt
                                                                               June 29, 2021

   be greaterthansuch prece de ntcompe nsationinligh tofthe significantdutie s, burde ns, and
   time commitme ntrequired ofme mbe rsofthe Spe cialLitigationCommittee ), and
   (c)reimburse itsme mbe rsforallout-of-pock e te xpe nse sincurred byanyme mbe rin
   conne ctionwith h isorh e rse rvice asa me mbe rofthe Spe cialLitigationCommittee ,
   consistentwith the e xpe nse reimburse me ntpolicie softhe Companyasine ffe ctfrom time to
   time ;
        FUR TH ER R ESO LVED TH AT, the Inde pe nde ntR e vie w Committee and the D e mand
   R e vie w Committee are h e rebydissolve d;and
        FUR TH ER R ESO LVED TH AT, allactionsh e retofore tak e nbythe office rsand directors
   ofthe Company, oranyofthe m, with respe cttoand incontemplationofthe actionsand
   mattersauthorize d byanyofthe foregoing resolutions, are h e rebyauthorize d, approve d,
   ratifie d and confirme d forallpurpose s.
